Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 1 of 19 Page |D #:6

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OO\)O\U\-LL)J[\J>-‘O\DOO\]O\LA-l>-UJNHO

 

FlLED

David J. Kaminsl<i (SBN 128509)

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cARfl§oN MEaSV§ERHiLP zmzsn> 211 PH 2.35

5959 W. Centu Boulevard, Suite 1214 .
Los An eles Ch}lifornia 90045 C§§§’§ §’AS,_' §{§:§C§:ecnotd R.T
Los t

310 242-2222 Facsirnile

Attorne s for Defendant
MIDLA CREDIT MANAGEMENT, INC.

§310; 2 2_2100 T@iephone

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DMITRIY BALSIN, cAWQZ ., 8 2 2 9 nw

Plaintifl:`, l
NOTICE OF REMOVAL 69 )m()
vs.

MIDLAND CREDIT
MANAGEMENT, INC.,

Defendant.

 

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § l446(a), Defendant
l\/IIDLAND CREDIT MANAGEMENT, lNC. ("Defendant") hereby removes to this
Court the civil action described beloW, as it involves a federal question.

l. On August 21, 2012, Plaintiff DMITRIY BALSIN ("Plaintit`l"') liled a
small claims action in the Superior Court of California for the County of Los Angeles,
entitled Dmitriv Balsin v. Midland Credit Mana,qernent. Inc., Case No. 12501286. A
true and correct copy of Plaintiffs Clairn and ORDER to Go to Srnall Clairns Court

("Claim") is attached hereto as Exhibit A.

1
07245.00/187780 NOTICE OF REMOVAL

 

CARLSON &,MESSER LLP

5959 W. Ez-:NTuRY EciuLEvARD, SulTl-: 1214

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Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 2 of 19 Page |D #:7

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oo\i_o\mJ>wr\)~o\ooo\lo\cn.z>;§:g

 

2. Plaintiff served the Claim by having it mailed to Defendant With the
assistance of the Court Clerk on August 24, 2012, as evidenced by the copy of the
envelope Defendant received Which is attached hereto as Exhibit B. The 30-day
removal period thus began to run no earlier than August 24, 2012, and this Notice of
Removal is timely pursuant to 28 USC § l446(b) and Rule 6(a) of the Federal Rules
of Civil Procedure.

3. There are no other defendants named in Plaintift's Claim.

4. This action involves a federal question in that it arises under the Fair Debt
Collection Practices Act ("FDCPA"; 15 U.S.C. § 1692, et seq.). (See Plaintift‘s Claim,
Item 3.) lt is therefore an action of which this Court has original jurisdiction under 28
U.S.C. § 1331, and may be removed to this Court by Defendant pursuant to the
provisions of 28 U.S.C. § 144l(a). This Court has Supplemental jurisdiction over
potential state law claims pursuant to 28 U.S.C. § 1367.

5. Venue is proper in this district under 28 U.S.C. §1441(a) because this
district and division embrace the place Where the removed action has been pending

6. Plaintiffs' Claim does not include a demand for a jury trial. Defendant
demands a jury trial.

7. Defendant Will promptly tile a copy of this Notice of Removal With the

clerk of the State Court Where the action has been pending.
DATED: September 21, 2012 CARLSON & MESSER LLP

By s/David J. K_aminski
David J. Kamlnsl<i
Attorne s for Defendant
MIDLA CREDIT MANAGEMENT, lNC.

2
07245.00/187780 NOTICE OF REMOVAL

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 709/24/12 Page 3 of 19 Page |D #:8

EXHIBIT A

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 4 of 19 Page |D #:9

E~FILING ID: 120821.000074

 

 

 

 

 

 

Plaintiff’g Claim and ORDER Clerk stamps date here when form is filed.
to Go to Small Claims Court -
Notice to the person being sued: Ele°‘r°“i°a"¥
- You are the Defendant 1f your name is listed' m @on o@§age 2 of this FILED
form. The person suing you is the Plaintiff, listed m on page 2. By SE§;::; §01:';; §§ §;lei:°;:ia,
- ;((:)::tn;lotlti: :;:;:t::lm;s;ygl<;;: tc}<‘);uctacs)(;i the trial date listed below. lt` you y AUG 21 2012
JOHN A. CLARKE,CLERK
- If you lose, the court can order that your wages; -rnoney,- -or property be By GR,zELDA DuRAZO, Deputy
taken to pay this claim. ' '.‘ ' -r _;i ‘:'l 1 - '-
' Bring witnesses, receipts, and any evidence you need to prove your case. F,~/;,-,, Court name end street eddreee;
' Read this form and all pages attached to understand the claim against Sul?eri°" C°“'t of Ca"f°'ma’ C°umy °f
you and to protect your rights. ` BEVERLY HILLS COURTHOUSE
A‘"S° a' De'"a“°'ad°= §§3§11§3¥{§?§1§?¥&§33§1§°8

‘ Usted es el Demandado si su nombre figura en@ de la pagina 2
de este formulario. La persona que lo demanda es el Demandante, la que
figure en @de la pagina 2.

 

Clelk fills in case number and case name:

Case Number:
12801286

 

- Usted y el Demandante tienen que presentarse en la corte en la fecha del

juicio indicada a continuacic')n. Si no se presenta, puede perder el caso. g§i"i‘M"%'ALer vs. MIDLAND
' cREDIT MANAGEMENT, INC.

 

 

' Si pierde el caso la corte podria ordenar que le quiten de su sueldo, dinero u
otros bienes para pagar este reclamo.

 

Lleve testigos, recibos y cualquier otra prueba que necesité para probar_ su caso.
Lea este formulario y todas las paginas adjuntas para entender la demanda en su contra y para proteger sus derechos.

Order to Go to Court

The people in @ and @must go to__goil_t_§t: (QIe;r/gj?lls`,lozrr_§eczion be`low.)

 

 

 

 

 

 

 

Tria| 9 Date 'l`ime - "i'jli`=,_par:tni§;_nii'»';`:@l\lame`and: address of court if different from above
l. 10/24/2012 01:30 PM 00:1‘ v 8 3R1) FLooR
2.
3.
Dat€! 8/2]/20]2 JOHN A. CLARKE! Clerk, by GRIZELDA DURAZO , D€pl]fy

 

 

 

 

 

instructions for the person suing:

’ You are the Plaintiff. The person you~ are suing is the Defendant.

- Before you fill out this form, read' Form SC-lOO-INFO, Informationjbr the Plaz`ntiff, to know your rights. Get '
SC-l OO-lNFO at any courthouse or county law library, or go to: www.coilrtz`nfo.ca.gov/j?)rms

-~ Fill out pages 2 and 3 of this form. 'l`hen make copies of all pages of this form. (Make l copy for each party named in
this case and an extra copy for yourself ) Take or mail the original and these copies to the court clerk’s office and pay
the filing fee. The clerk will write the date of your trial m the box above

~ You must have someone at least 18_not yc`)u;v or anyone else listed 111 this case_give each Defendant a court-stamped
copy of all 5 pages of this form and any pages this for_m~.tells you to attach. There are special rules for“ serving,”
delivering, this form to public entities, associations, and some businesses _See Forms SC-lO4, SC-104B,

and SC~IO4C.
. Go to court on your trial date listed above B_ring ' ness s`)_receipts, and any evidence you need to prove your case.

   

 

Judicia|CounetlolCalilomia.www.counsca.gov 1 ~ - 1
RevisedJanuan/t,2012, Mandalory Forrn ` T P|alntlfFSSCla‘i-n and ORDER SC 100' Page 03
codaorcivn Procedure_ §§ 116.110e15-.=q.. to GO to mai Cialm$ COU|’t

116.2201¢).116.34019) (Small C|aims)

ELECTRON)CALLY FILED BY SUPERIOR COURT OF CALlFORNlA, COUNTY OF LOS ANCELES. (Receipt #1120822E507:1)

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 5 of 19 Page |D #:10

E“FILING ID: 120821000074

 

Case Number:
12801286

DMITRIY BALSIN

 

 

Plaintit`t` (Iz'St names).'

 

 

® The P|aintiff (the person, business, or public entity that is suing) is:

NAME: DMITRIY BALSIN

HOME ADDRESS: 1220 N. OGDEN DRIVE #l
wEST HOLLYWOOD, CA 90046

PHONE: (323} 360~3600

lf more than one Plaintiff, list next Plaintiff here:

i:i Check here zf more than 2 Plaintijj`fr and attach Form SC-_l 00A.

ij Check here ifet`ther Plainl;jj‘lisled above i_s doing btrstness tinder a f ctzttous name Ifsa attach Form SC-I 03.
@ The Defendant (the person, ' r`publlc entity being sued)' ts:

NAME: MIDLAND CREDIT MANAGEMENT, HINC.
HOME ADDRESS: 8875 AERO DR. SUITE 200
SAN DIEGO, CA 92123
PHONE: (800) 265-8825
MAILING ADDRESS: 2710 GATEWAY OAKS DR STE 150N
SACRAMENTO, CA 95833

 

lf m_ore than one Defendant, list next Defer\dant here:

l:l Check here if more than 2 Dej?endants and attach Form SC-IOOA.

i:] Check here if any Dejendant is on active military duty, and write his or her name here: ____________
The Plaintiff claims the Defendant owes $ 4000. 00 _. (Explain below).~
a. Why does the Def`endant owe the PIainti_-ff money?

COMMITED MULTIPLE ROSENTHAL Ac';;.t{"_z>:ND r;i)qc'i_tj_Ar\/§C>‘I:A;rgons

 

b. When did this happen? (Date).'
lf no specific date, give the time period: Dale started: _Q_ZLZM§P}_?______ ThrOIlg/t.' °8/ 21/ 2012

c. How did you calculate the money owed to you? (Do nat include court costs or fees for service.)
wILL NoT vALIDATE A DEBT cLArn AND HAVE No'r RESPONDE:D To RosENTHAL ACT AND FDCPA vIoLATIONs

 

revised Januam_zotz plaintiffs C|aim and ORDER SC-100, Page 2015
to Go to Smal l C|aims Court "9
(Smal| Claims)

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 6 of 19 Page |D #:11

E-FILING ID: 120821000074

 

Case Number:
12501286

DMITRIY BALSIN

 

 

 

Plaintiff (list names):

 

® You must ask the Defendant (in person, in Writing, or by phone) to pay you before you sue.
Have you done this? El Yes El No
Ifno, explain why not:

"" ‘:~.’ `»") `.l

-.\ n
., -
-I'- __7.‘ ..1:_5,h

@ Why are you filing your claim at: this courthouse’)
This courthouse covers the area (check the one that applies):
3. lZl (l) Where the Defendant lives or does business. (4) Where a contract (written or spoken) was made,

(2) Where the Plaintit`t’s property was damaged_ Signed, performed, or broken by the Defendant or
(3) Where the plaintiff was injured where the Defendant lived or did business when

the Defendant made the contract.

  

b. |:] Where the buyer or lessee signed the contract, lives now, or lived when the contract was made, if this claim
is about an offer or contract for personal, family, or household goods, services, or loans. (Code Civ. Proc.,

§ 395(b)-)

c. l:l Where the buyer signed the contract, lives now, or lived when the contract was made, if` this claim is about
a retail installment contract (like a credit card). (Civil Code, § 1812.10.)

d. [:l Where the buyer signed the contract, lives now, Or lived when the contract was made, or where the vehicle
is permanently garaged, it` this claim is about a vehicle finance sale. (Civil Code, § 2984.4.)

e. l:| Other (speciyj)):

® List the zip code of the place checked in @ above (itfyou know): 90046

@ ls your claim about an attorney-client fee dispute? l:l Yes lZl No
]f yes and tf you have had arbitration, f ll 'ou_t Form,SC-I Ol,Jattach it to thisform, and check here.' I:l

o Are you suing a public entity? ll-‘Yes U.‘Now ` "*
If yes you must f le a written claim with the enttly f rst l:l A claim was filed on (dale).'
If the public entity denies your claim or does not answer within the time allowed by law you can f le this form

® Have you filed more than 12 other small claims within the last 12 months ln Ca|ifornia?
ij Ye$ al No ]fyes, theflingfeefor this case will be higher.

l understand that by filing a claim in small claims court, l have no right to appeal this claim.

® l have not tiled, and understand that l cannot file, more than two small claims cases t`or more than $2, 500'1n
California during this calendar year.

l declare, under penalty of perjury under Calit`ornia State law, that the information above and on any attachments to

 

this f`orm is true and correct. RI k _ ‘

Date:e/zl/zoiz. DMITRIY BALSIN p § MMAWREONPH‘E
Plainliff types or prints name here Plaintijjr signs here

Date: ,

 

 

Second Plaintij" types or prints name here Se_cond Plaintnffsigns here

Requests for Accommodations

Assistive listening systems, computer-assisted real- time captioning, or sign language interpreter
services are available ifyou ask: at least 5 days'. before the trial Contact the clerk’ s office for Form

MC- 41(}, RequestforAccommodatlons by Persons Wilh Disabilities and Response. (Civil Code, § 54. 8)

|7." l ;_~‘,;'~‘)f:'_»§ i.
RevisadJanuaryt,zOtz pla’intiff)`s Claim and ORDER 30-100,Pag€30l5
to Go to Sma|| Clatms Court '“3*
(Small Claims)

Case 2:12-cv-08229-S.]O-FI\/|O Document 1

 

“Small claims Court” is a special court where claims
for $5,000 or less are decided. A “natural person” (not a
business or public entity) may generally claim up to
$10,000, including a sole proprietor. (*See below for

 

Filed 09/24/12 Page 7 of 19 Page |D #:12

information for the Defendant (the person being sued)

Do l have options? '
Yes. lfyou are being sued, you can:

' Settle your case before the tria|. lfyou and the

Plaintiff agree on how to settle the case, both of you must

excep[i()ns_) The process is quick and cheap_ The`§ules are _' l;;`l;lollfy the COUI`[. ASk the Small ClalmS AdVlSol' for help.

simple and informal. _`
You are the Defendant--the person being su` - ' , 1 ,
person who is suing you is the Plaintiff.

Do l need a lawyer?

You may talk to a lawyer before or after the case. But you
may not have a lawyer represent you in court (unless this
is an appeal from a small claims case).

How do l get ready for court?

You don’t have to tile any papers before your trial, unless
you think this is the wrong court for your case. But bring
to your trial any witnesses, receipts, and evidence that
Supports your case. And read “Be Prepared for Your
Trial” at www.courts.ca.gov/smallclaims/prepare.

 

What if l need an accommodation?

lf you have a disability or are hearing impaired, fill out
Form MC-410, Requeslfor Accommoda!ions. Give the
form to your court clerk or the ADA/Access Coordinator.

What if l don’t speak English well?

Bring an adult who is not a witness to interpret for you, or
ask the court clerk for an interpreter at least ftve1days before
your court date. A court-provided interpreter,mayi§not bé; ,

available or there may be a fee for using a coct`tr‘t~:int:e_r;p:r_eter;.d_
unless you qualify for a fee waivcr. You may‘\asrk_ thetc_ourt “

for a list of interpreters and also the Applicatz'on for Waii)er
of Court Fee.s' and Co.s'ts (form FW'OOl ).

Where can l get the court forms l need'?
Go to any courthouse or your county law library, or print
forms at: www_cow'ts.ca.gov/smallclaims/forms.

What happens at the trial?
The judge will listen to both sides. Thejudge may make a
decision at your trial or mail the decision to you later.

What if l lose the case?
lfyou lose, you can appeai. You’ll have to pay a fee.
(Plaintiffs cannot appeal their own claims.)

' ll`you were at the trial, tile Form SC»140, Notice of
Appeal. You must file within 30 days after the
judge’s decision

' lf you were nor at the trial, fill out and tile Form
SC- l 35, Notice of Motion 10 Vacale Jztdgmenl and
Declaration, to ask the judge to cancel the judgment
(dccision). lfthe judge does not give you a new
trial, you have 10 days to appeal the decisi_op ';l_§ile ~~'_-
Form SC-l40. .. ` `

For more information on appeals, see: '\1 ' 1.

www.courtsca.gov/smallclaims/appeals.

  
 

" ~ \ m . .
1. ’ ,: §`ig;"l_’;r;qve __this 15 the wrong court. Send a letter to the
b 1 ,__._.¢c`°our“t before your trial, explaining why you think this is

the wrong court. Ask the court to dismiss the claim.
You must serve (give) a copy of your letter (by mail or
in person) to all parties_ [Your letter to the court must
say you have done this.)

' Go to the trial and try to win your case. Bring

witnesses, receipts, and any evidence you need to
prove your case. To make sure the witnesses go to the
trial, fill out Form SC- l 07, and the clerk will subpoena
(order) them to go.

' Sue the person who is suing you. File Form

SC-lZO, Dq`endant’s Claim. There are strict filing
deadlines you must follow.

‘ Agree with the Plaintiff’s claim and pay the

money. Or, if you can’t pay the money now, go to
your trial and say you want to make payments

- Let'the case “default.” if you don’t settle and do not

go to the trial (default), the judge may give the Plaintiff
what he or she is asking for plus court costs. lfthis
happens, the Plaintiff can legally take your money,
wages, and property to pay the judgment

11 ,1~1. ) '.

wha;§if mead more time'.>

rn

ng iaii{change the trial date if:

- You cannot go to court on the scheduled date (you will
have to pay a fee to postpone the trial) or

- You did not get served (receive this order to go to
court) at least 15 days before the trial (or 20 days if you
live outside the county) or

- You need more time to get an interpreter. One
postponement is allowed, and you will not have to pay
a fee to delay the trial. .

Ask the Small Claims Clerk about the rules and fees for

postponing a trial. Or till out Form SC~I 50 (or write a

letter) and mail it to the court and to all other people_listed

on your court papers before the deadline Enclose a check

for your court fees, unless a fee waiver was granted

Need help?
Your county’s Small Claims Advisor can help for free.

 

l l

Small Claims Advisors are available Monday thru Friday, 8:30 A.M.
to 4:30 P.M. al the County Hall of Adminislralion 500 Wesl Temp|e
Streel, Room B_96,.Los Ange|es 90012 or by calling (213) 974-9759.

..1.. l

ia ; ~t. _ .
_, _‘ “?Or go to www1courts.ca.gov/smal[c[alms/advisor.

 

‘Exccptions: Di|'l`cronl limits apply in an action against u defendant who is a guarantor. (Suc Codc Civ. Proc. § | l6.220(c).) ln an action brought by a natural person l`or
damages for bodily injuries resulting from un automobile accident, a $7,500 limit applies il'a defendant is covered by an automobile insurance policy that includes a duty
lo defend. (Scc Codt: Civ. Pmc.§ l l6.22|.)

Plaintiff’s Claim and ORDER to Go to Small ClaimS Court
(Small Claims)

SC-100, Page 4 of5
_)

Revised January 1_ 2012

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 8 of 19 Page |D #:13

\ 1

La "Corte de reclamos menores” es una co'r`t"e espé'c'ial
donde se declden cases por $5,000 c') menos. Una "persona
natural" (que no sea un negocio nl una entidad publica)
puede reclamar haste $10.000. Una “persona nalural" (que
no sea un negocio ni una emidad publica), que incluye un
dueno unlco, generalmeme puede reclamar haste $10,000.
(" Vea aban para las excepciones.) El proceso es rapldo y
barato. Las reglas son sencillas e informales.

Usted es el Demandado - la persona que se esta demand-

l~|,§q
`l_§i"l.'}

   

ando. La persona que lo esta demandando es el Demandame.

¢;Necesito un abogado?

Puede hablar con un abogado ames 0 despues del caso.

Pero no puede lener a un abogado que lo represeme ante

la corte (a menos que se trate de una apelacion de un caso

de reclamos menores).

¢;Cc`)mo me prepare para ir a la corte?

No tlene que presentar ningunos papeles ames del juicio. a

menos que plense que esta es la cone equivocada para su

caso. Pero lleve al juicio cualquier testigos. reclbos. y

cualquier pruebas que apoyan su caso. Y lea "Este

preparado para su juiclo” en:

www. courts. ca. gov/reclamosmenores/preparesé.t

¢‘,Qué hago si necesito una adaptacion? 51“"»\'-:;

Si tiene una discapacidad 0 tiene impedimemo"s de_;"€_

audlcic`)n, llene el formulario MC-410. Reques‘lifor4 1 -‘

Accomodations. Emregue el formulario al secretalio de la

corte 0 al Coordinador de Acceso/ADA de su corte.

¢',Qué pasa si no hab|o inglés bien?

Traiga a un aduth que no sea testlgo para que le sirva de

interprete. O plda al secretarlo de la corte que le asigne uno.

Si quiere que la corte le asigne un lmerprete. lo llene que

pedir como minlmo menos cinco dias ames de la fecha en

que tenga que ir a la corte. Es posible que no haya disponlble
un lnterprete proporcionado por la corte o que tenga que

pagar una cuota por emplear un interprete de la corte. a

menos que tenga una exenclon de cuotas. Puede pedir a la

corle una llsta de interpretes y la So|lcitud de exencic')n de
cuotas y costos de la corte (formulario FW~OOl).

¢',Dc')nde puedo obtener los formularios de la corte que

necesito?

Vaya a cualquier edil`lcio de la corte, la blblloteca legal de su

condado, o imprima los formularios en: www.couris.ca.gov/

sma/lolaims/forms (pagina esta en ingles).

¢',Que pasa en el julcio?

E| juez escuchara a ambas partes. EI juez puede tomar

Su decision durante la audiencia o envlarse|a por correo

despues. '

LQué pasa si pierdo el caso?

Si pierde, puede ape|ar. Tendra que pagar una¢c

Demandame no puede apelar su propio reclamo'_. )

. Si estuvo preseme en el juiclo, llene el formulario
SC-140 Aviso de ape/acidn. Tiene que presentarlo
dentro de 30 dias d_e_pués de la declsic')n del juez.

. Sl no estuvo en el juiclo, llene y preseme el formu|arlo
SC-135, Aviso de petic/`<‘>n para anular el faI/o y
Dec/aracio`n para pedlrle al juez que anule el fallo
(decisic`)n). Sl la corte no le olorga un nuevojulcio, tiene
10 dias para apelar la declsi<`)n‘ Preseme el formularlo
SC-140.

Para obtener mas informacion sobre las apelaciones, vea:

Www.courts.ca.gov/reclamosmenores/apelaciones.

,‘.;}:Yp

 
 

Revlsed January1, 2012

   

lnformacic')n 1"pfar_a'§l deman

 

   

del "

 
 
 

Reclamo del Demandante y ORDEN

dad§)'(|a persona demandada)

¢,Tengo otras opciones?

Si. Si lo estan demandando, puede:

' Resolver su caso ames del juicio. Sl usted y el
Demandante se ponen de acuerdo en resolver el caso.
ambos tlenen que notiflcar a la corte. Plda|e al Asesor de
Reclamos Menores que lo ayude.

° Probar que es la corte equivocada. Envie una carta a la
corte ames del juicio explicando por que cree que es la
corte equivocada_ Pida|e a la corle que despida el
reclamo. Tiene que entregar (dar) una copia de su carla
(por correo 0 en persona) a todas las partes. (Su carla a la
corte llene que decir que hizo la emrega.)

' |r al juicio y tratar de ganar el caso. Lleve testigos.
reclbos y cualquler prueba que necesite para probar su
caso. Para asegurarse que los testigos vayan al juicio,
llene el formularlo SC-107. y el secretarlo emillra una
orden de comparecencia ordenandoles que se presenten.

- Demandar a la persona que lo demando. Preseme el
forrnulario SC'120, Reclamo del demandado. Hay fechas
limite estrictas que debe segulr.

- Aceptar el reclamo del Demandante y pagar el

; dmero. O, sl no puede pagar en ese momento vaya al

v1u1010 y__ diga que quiere hacer los pagos.

a;xl“l\lo‘zr al juicio y aceptar el fa|lo por falta de
` comparecencia Si no llega a un acuerdo con el

Demandame y no va al' julclo (fal|o por falta de
comparecencia), el juez le puede otorgar al Demandante
lo que esta reclamando ma`s los costos de la corte. En ese
caso, el Demandante legalmeme puede lomar su dlnero,
su sueldo o sus blenes para cobrar el fallo.
LQué hago si necesito mas tiempo?
Puede cambiar la fecha del julcio sl:
.No puede ir a la cone en la fecha programada (tendra que
pagar una Cuota para aplazar el julClo) o
. No le enlregaron los documenlos legalmeme (no reciblo la
orden para ir a la corte) por lo menos 15 dias antes del juicio
(c') 20 dlas si vive fuera del condado) o
- Neceslla mas fiempo para conseguir lmérprete. (Se permits un
solo aplazamiento sin tener que pagar cuofa para aplazar el
juicio).
Pregumele al secretario de reclamos menores sobre las
reglas y las cuotas para aplazar un juicio. 0 llene el
formularlo SC 150 (o escriba una carta) y envie|o ames del
plazo a la corte y a todas las otras personas que f guran en
sus papeles de la corle Adjunte un cheque para pagar los
costos de la corte, a menos que le hayan dado una exencic')n.
¢Necesita ayuda? El Asesor de Reclamos
Menores de su condado le puede ayudar sin cargo

l Small Claims Advisors are available Monday lhru Frlday 81 30 A M q
lo 4: 30 P. M. al lhe County Hall of Admlnislralion 500 Wesl Temple

Slreel, Room BQS, Los Angeles 90012 or by calling (213) 974- 9759.
l d

O vea "lnformacién por condado" en
www. courts. ca. gov/reclamosmenores/asesores.

°Excapcionos: Exlslen diferenles |imiles en un reclamo contra un garanle. (Vea el
C<')digo de Frocedimienlo Civil. seccién 116. 220 (c). ) En un caso presenlado por
una persona nalural par danos debldo a leslones lisicas en un accidenle
aulomovillslico, exisle un limits de 87 500 si el demandele llene cobertura bajo una
pbliza de segura de vehiculo que incluye la obligacién de defender. (Vea el delgo
de Frocedimienlo Civil, seccién116.221.)

SC-1 OO, Page 5 015

Para lr a la Corte de Reclamos Menores
(Reclamos Menores)

Case 2:12-cv-08229-SJO-FI\/|O Document 1 Filed 09/24/12 Page 9 of 19 Page |D #:14

EXHIBIT B

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 10 of 19 Page |D #:15

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Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 11 of 19 Page |D #:16

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STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

PROOF OF SERVICE

)
) ss.
)

l am employed in the County of Los Angeles, State of California.

I am over the age of eighteen years and not a party to the within action. My business address

is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On September 24, 2012,1 served the foregoing doeument(s) described as: NOTICE OF

REMOVAL on all interested parties in this action by placing a true copy thereof enclosed in a
sealed envelope addressed as follows:

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SEE ATTACHED SERVICE LIST

BY MAIL: I sealed such envelope(s) and placed it (thern) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer L`LP. I am “readily
familiar” with the business practices of Carlson & Messer LLP for collection and processing
of correspondence for mailing with the United States Postal Service. Such correspondence
would be deposited with the United States Postal Service at Los Angeles, California this
same day in the ordinary course of business with postage thereon fully prepaid.

BY ELECTRONIC MAIL : Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, I caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). l did not
receive within a reasonable time after the transmission, any electronic message or other
indication that the transmission Was unsuccessful

PERSONAL SERVICE BY HAND- l personally served document to address stated on
POS Service List.

BY FACSIMILE- l transmitted via telecopier machine such document to the offices of the
addressees

(STATE) ~ l declare under penalty of perjury under the laws of the State of California that
the above is true and correct.

(FEDERAL) - l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed this 24th day of September, 2012 Los Angeles, California.

 

pfirila Brooks l

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PROOF OF SERVICE

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 12 of 19 Page |D #:17

y_.\

SERVICE LIST
Dmitriv Balsin v. Midland Credit Manazement. Inc.
File No.: 07245.00

Dmitriy Balsin PLAINTIFF IN PRO SE
1220 N. Ogden Drive, #l

West Hollywood, CA 90046

Tele: (323) 360-3600

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PROOF OF SERVICE

 

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 13 of 19 Page |D #:18

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
ClVlL COVER SHEET

 

DEFENDANTS
MlDLAND CREDlT MANAGEMENT, lNC.

l (a) PLAlNTlFFS (Check box if you are representing yourself M)
DMlTRIY BALSlN

 

(b) Attorneys (Finn Name, Address and Tclephone Nulnber. lf you arc representing Attomeys (If Known)

yourself, provide same.) David J Kaminski

Carlson & Messer LLP, 5959 W. Century Blvd_ #1214, Los Angeles, CA 90045
310-242-2200

Dmitriy Balsin
1220 N. Ogden Drive #l, West Hollywood, CA 90046
323-360-3600

 

 

]l. BASIS OF JURISDICTION (Placc an X in one box only.) ll]. ClTlZENSHlP OF PRINCIPAL PART]ES ~ For Diversity Cases Only
(Place an X in one box l`or plaintiff and one for defendant.)
l:l l U.S. Govemmem Plaintiff d 3 Fedeml Question (U.S. PTF DEF P'I`F DEF
~ Govennnent Not a Party) Citizen ofThis State l:l l l:l l incorporated or Pn'ncipal Place [] 4 |:l 4
of Business in this Slate
l:l 2 U.S. Govemment Defendant l:l 4 Diversity (lndicate Citizenship Citizen of Another State D 2 |:| 2 lncorporatcd and Principal Place lj 5 l:l 5
of Parties in ltcm lll) of Business in Another State
Citizen or Subjcct of a Foreign Countxy [] 3 El 3 Foreign Nation l:l 6 |:l 6

 

 

lV. ORIGIN (Place an X in one box only.)

l:| l On`ginal M2 Removed from l:l 3 Remanded from [l 4 Reinstated or |:l 5 Transferred from another district (specify): l:l 6 Multi- l:l 7 Appeal to Distiict
Proceeding State Court Appellate Court Reopened Distn'ct Judge from
Litigation Magistrate Judgc

 

V. REQUESTED IN COMPLA]NT: .]URY DEMAND: |:l Yes leo (Check ‘Yes' only if demanded in complaint.)
l:l MONEY DEMANDED lN COMPLAINT: $

CLASS ACT]ON under F.R.C.P. 231 l:l Yes

No

 

 

VI. CAUSE OF ACTlON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Fair cht Collection Practices Act, 15 USC l692, et seq.

 

Vll. NATURE OF SUIT (Place an X in one box only.)

 

  

 

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Rates/etc. l:l 150 Recove1y of m 320 Assa“h’ libel & l] 380 Other Personal [] 530 General L`_l 730 Labor/Mgmt.

l:l 460 Deportation Overpayment & S]a“der , Propeity Damage [l 535 Death Penalty Reporting &

l] 470 Racketeer lnfluenced Enforcement of m 330 F‘_id' vE_mpl°yers l:| 385 Propelty Damage l:l 540 Mandamus/ Disclosure Act
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ACf l:l 196 Franchise … t:l 368 Asbestos Personal l:l 445 Americzm with l:l 630 Liquor Laws l:l 863 DlWC/DlWW

l:| 893 Environmental Matte)s E_’R_ ln_iuly Product Disabilities - l:l 640 R.R. &Truck (405(g))

l:| 894 Energy Allocation Act l:| 210 Land Condexnnatlon ' ' ‘ Employment l:l 650 Airline Regs l:l 864 SSlD Titlc XVI

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FOR OFFlCE USE ONLY: Case Number; d

 

AFTER COMPLET]NG THE FRONT SlDE OF FORM CV~7], COMPLETE THE INFGRMATION REQUESTED BELOW.

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 .Filed 09/24/12 Page 14 of 19 Page |D #:19

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
ClVlL COVER SHEET

Vlll(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded orclosed? leo l:l Yes
lf yes, list case nurnber(s):

 

Vll](b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? leo l:l Yes
lf`yes, list case number(s):

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that apply) l:l A. Arise from the same or closely related transactions, happenings, or events; or
l:| B. Call for determination of the same or substantially related or similar questions of law and fact; or
ll C_ For other reasons would entail substantial duplication of labor if heard by different judges; or
l:l D. lnvolve the same patent7 trademark or copyright, and one of the factors identified above in a, b or c also is present_

 

IX. VENUE: (eren completing the following infonnation, use an additional sheet if necessary.)

(a) List the County in this District; Califomia County outside of this Distn`ct; State if other than Calif`omia; or Foreign Country, in which EACH named plaintiff resides
|:\ Check here if the govemment, its agencies or employees is a named plaintiff. lf this box is checked, go to item (b).

 

County in this Distn`ct:* Calif`omia County outside of this District; State, if other than Califomia; or Foreign Country

Los Angeles County

 

 

 

(b) List the County in this Distr~ict; Calit`omia County outside of this Distn'ct; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
l:l Check here if the govemment, its agencies or employees is a named defendant lf this box is checked, go to item (c).

 

County in this District:"‘ Califomia County outside of this District; State, if other than Calr'fornia; or Foreign Country

San Diego County

 

 

(c) List the County in this District; California County outside of this District; State if` Other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract ofland involved.

 

County in this Distn'ct:* California County outside of this Distn`ct; State, if other than California; or Foreign Country

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Sarrta Barbara, or San Luis Obispo Counties
Note: ln land condemnation cases, use the location of` tlrp»tract of land involved

x. erNATuRE or ArroRNEY (oR PRO PER): R:/O»\)\AQ F`L< § CW(A;<)£&_; Dare 9'2]'12

Notice to Counsel/Parties: The CV-71 (JS~44) Civil Cover She¥md the infonn§"ron contained herein neither replace nor supplement the filing and service of pleadings
or Other papers as required by law. This fonn, approved by the ltidicial Conference oftlre United States in September 1974, is required pursuant to local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions slreet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statcment of Cause ofAction

861 HlA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Secun'ty Act, as arnended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S,Ct 1935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 o_s.C. 923) `

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Social Security Act, as
arnended; plus all claims filed for clrild’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DlWW All claims filed for widows or widowers insurance benths based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Secun`ty
Act, as amended

865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Securr'ty Aet, as amended (42
U.S.C. (g))

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 15 of 19 Page |D #:20

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PROOF OF SERVICE
STATE OF CALIFC)RNIA )
) ss.
COUNTY OF LOS ANGELES )

l am employed in the County of Los Angeles, State of California.

l am over the age of eighteen years and not a party to the within action. My business address
is 5959 W. Century Blvd.7 Suite 1214, Los Angeles, CA 90045.

On September 24, 2012, l served the foregoing document(s) described as: CIVIL COVER
SHEET on all interested parties in this action by placing a true copy thereof enclosed in a sealed
envelope addressed as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer LLP. l am “readily
familiar” with the business practices of Carlson & Messer LLP for collection and processing
of correspondence for mailing with the United States Postal Service. Such correspondence
would be deposited with the United States Postal Service at Los Angeles, California this
same day in the ordinary course of business with postage thereon fully prepaid.

[ ] BY ELECTRONIC MAIL : Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, l caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). l did not
receive within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccessful

[ ] PERSONAL SERVICE BY HAND- l personally served document to address stated on
POS Service List.

[ ] BY FACSIMILE- l transmitted via telecopier machine such document to the offices of the
addressees

[] (STATE) - l declare under penalty of perjury under the laws of the State of California that
the above is true and correct.

[X] (FEDERAL) - l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made.

  
 

Executed this 24th day of September, 2012 at Los Angeles, California.

 

in' Brooks

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PROGF OF SERVICE

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 16 of 19 Page |D #:21

l SERVICE LIST
Dmitriv Balsin v. Midland Credit Management, Inc.
File No.: 07245.00

.|>.L)JN

Dmitriy Balsin PLAINTIFF IN PR() SE
1220 N. Ogden Drive, #l

West Hollywood, CA 90046

Tele: (323) 360-3600

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PROOF OF SERVICE

 

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 17 of 19 Page |D #:22

UNITED STATES DISTRlCT COURT
CENTRAL DISTRICT OF CALIF()RNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge S. J ames Otero and the assigned discovery
Magisti'ate Judge is Fernando M. Olguin.

The case number on all documents filed with the Court should read as follows:

CV12- 8229 SJO (FMOx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be sen/ed on all plaintiffs).

Subsequent documents must be filed at the following location:

l Western Division [_] Southern Division [_] Eastern Division
, 312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
’ Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

/

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR DISCOVERY

Case

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:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 18 of 19 Page |D #:23

PROOF OF SERVICE
STATE OF CALIFORNIA )
) ss.
COUNTY OF LOS ANGELES )

l am employed in the County of Los Angeles, State of California.

I am over the age of eighteen years and not a party to the within action. My business address

is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On September 26, 2012,1 served the foregoing document(s) described as: NOTICE OF

ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY on all
interested parties in this action by placing a true copy thereof enclosed in a sealed envelope
addressed as follows:

[X]

ll

ll

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[Xl

SEE ATTACHED SERVICE LIST

BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer LLP. l am “readily
familiar” with the business practices of Carlson & Messer LLP for collection and processing
of correspondence for mailing with the United States Postal Service. Such correspondence
would be deposited with the United States Postal Service at Los Angeles, California this
same day in the ordinary course of business with postage thereon fully prepaid.

BY ELECTRONIC MAIL : Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, I caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). I did not
receive within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccessful

PERSONAL SERVICE BY HAND- l personally served document to address stated on
POS Service List.

BY FACSIMILE- l transmitted via telecopier machine such document to the offices of the
addressees.

(STATE) - l declare under penalty of perjury under the laws of the State of California that
the above is true and correct

(FEDERAL) - l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed this 26th day of September, 2012 at Los Angeles, C;un'a.n`%

2 22%

Einda Brooks

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PROOF OF SERVICE

 

Case 2:12-cv-08229-S.]O-FI\/|O Document 1 Filed 09/24/12 Page 19 of 19 Page |D #:24

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SERVICE LIST
Dmitriv Balsin v. Midland Credit Management. Inc.
File No.: 07245.00

Dmitriy Balsin PLAINTIFF IN PRO SE
1220 N. Ogden Drive, #l

West Hollywood, CA 90046

Tele: (323) 360-3600

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PROOF OF SERVICE

 

 

